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          EXHIBIT A – PROPOSED ORDER
Case: 2:22-cv-02653-ALM-CMV Doc #: 2-1 Filed: 06/30/22 Page: 2 of 2 PAGEID #: 51




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

 STUDENT RESOURCE CENTER, LLC,                 )
                                               )
        Plaintiff,                             )
                                               )      DEMAND FOR JURY TRIAL
 v.                                            )
                                               )      Case No.
 EASTERN GATEWAY COMMUNITY                     )
 COLLEGE,                                      )
                                               )
        Defendant.                             )
                                               )
                                               )
                                               )
                                               )
                                               )

      PROPOSED ORDER SETTING HEARING ON PLAINTIFF’S MOTION FOR
                      PRELIMINARY INJUNCTION

       This matter coming to be heard on this ___ day of _____ 2022, on Student Resource

Center, LLC’s Complaint, its Motion for a Preliminary Injunction, and its supporting brief with

attached affidavits and all exhibits attached to the foregoing. After having considered the

foregoing documents and being otherwise duly advised in the premises;

       It is hereby ordered that, on July ____, 2022, at _____ a.m./p.m., representatives for

Defendant and its counsel shall appear at Joseph P. Kinneary U.S. Courthouse located at 85

Marconi Boulevard, Columbus, Ohio 43215 before the Honorable

_____________________________________________________, Courtroom ______________,

to show cause why a preliminary injunction should not issue.

       It is so ordered this ___________________ day of July, 2022, at _____________

a.m./p.m.
